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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 KENNETH GANNAWAY,
                                                       Case No. 1:18-cv-00644
      Plaintiff,
                                                       Honorable Sara L. Ellis
 v.

 COMENITY CAPITAL BANK,

      Defendant.

                            JOINT STIPULATION OF DISMISSAL

        It is hereby stipulated and agreed by and between the parties to the above-entitled action,

through their respective attorneys, that said action be dismissed with prejudice and without costs

to either party pursuant to Fed. R. Civ. P. 41.

Dated: May 18, 2018                                   Respectively submitted,

/s/ Joseph Scott Davidson                             /s/ Jennifer L. Majewski

Joseph Scott Davidson                                 Jennifer L. Majewski
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